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                                              UNITED STATES DISTRICT COURT
                                          FOR THE WESTERN DISTRICT OF MICHIGAN

                            KOLU STEVENS;
                            PATRICK GREENHOE; and                              Case No.: 18-cv-757
                            CLAUDETTE GREENHOE;                             Honorable ______________
                                Plaintiffs,
                                                                             AMENDED COMPLAINT
                                  v.

                            MICHIGAN STATE COURT
                            ADMINISTRATIVE OFFICE;
                            MILTON L. MACK, JR., in his
                            official capacity as Administrator of
OUTSIDE LEGAL COUNSEL PLC




                            the Michigan State Court
                            Administrative Office;
     www.olcplc.com




                            KIM B. MEAD, in his official
                            capacity as Bay County Probate
                            Court Administrator;
                            WILLIAM M. HEFFERAN, in his
                            official capacity as Antrim County
                            Circuit Court – Family Division
                            Administrator,
                                   Defendants
                                                                    /

                            OUTSIDE LEGAL COUNSEL PLC
                            PHILIP L. ELLISON (P74117)
                            Attorney for Plaintiffs
                            PO Box 107
                            Hemlock, MI 48626
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                                                AMENDED COMPLAINT FOR
                                           INJUNCTIVE AND DECLARATORY RELIEF




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                                  NOW COMES Plaintiff KOLU STEVENS, PATRICK GREENHOE, and

                            CLAUDETTE GREENHOE by and through counsel, and complains as

                            follows:

                                                               PARTIES
                                  1.    Plaintiff KOLU STEVENS is a resident of Antrim County.

                                  2.    Plaintiff PATRICK GREENHOE is a resident of Bay County.

                                  3.    Plaintiff CLAUDETTE GREENHOE is a resident of Bay County.

                                  4.    Defendant MICHIGAN STATE COURT ADMINISTRATIVE
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                            OFFICE is the administrative agency of the Michigan Supreme Court with its
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                            principal place of business in Lansing, Michigan; it is named seeking its

                            consent to this suit under the Eleventh Amendment to the United States

                            Constitution.

                                  5.    Defendant MILTON L. MACK, JR is and holds the position of

                            Administrator of the MICHIGAN STATE COURT ADMINISTRATIVE OFFICE

                            and is sued in his official capacity.

                                  6.    Defendant KIM B. MEAD is and holds the position of

                            Administrator of the Bay County Probate Court and is sued in his official

                            capacity.




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                                  7.    Defendant WILLIAM HEFFERAN is and holds the position of

                            Administrator of the Antrim County Circuit Court – Family Division and is

                            sued in his official capacity.

                                                             JURISDICTION
                                  8.    This is a civil action brought pursuant to 42 U.S.C. § 1983

                            seeking injunctive and declaratory relief against Defendants for violations of

                            the First Amendment to the United States Constitution.

                                                      GENERAL ALLEGATIONS
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                                                             The Greenhoes
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                                  9.    Plaintiffs PATRICK GREENHOE and CLAUDETTE GREENHOE

                            were part of and parties to a probate court case captioned as In re Estate of

                            John Kuflewski, Bay County Probate Court Case No. 14-049781-DE

                            (hereinafter “Kuflewski Case”).

                                  10.   The Kuflewski Case was assigned to now retired judge Kenneth

                            W. Schmidt.

                                  11.   After an adverse outcome, Plaintiffs PATRICK GREENHOE and

                            CLAUDETTE GREENHOE challenged Judge Schmidt’s decision to the

                            Michigan Court of Appeals.

                                  12.   The case was assigned as Michigan Court of Appeals Case No.

                            327848.



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                                  13.     After the case was at the Court of Appeals, Plaintiffs PATRICK

                            GREENHOE and CLAUDETTE GREENHOE reviewed the transcripts

                            produced for the appeal and noticed numerous substantial errors and

                            misstatements in the transcripts.

                                  14.     Plaintiffs PATRICK GREENHOE and CLAUDETTE GREENHOE

                            have taken numerous actions to confirm that the transcripts produced for the

                            Court of Appeals challenge had errors which were outcome determinative.
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                                  15.     Actions included filing a complaint with the Court Administrator,
     www.olcplc.com




                            the Administrative Offices of the Michigan Supreme Court, and the Michigan

                            Court Reporting and Recording Board of Review to no avail.

                                  16.     Particularly, and of importance to this case, Plaintiffs PATRICK

                            GREENHOE and CLAUDETTE GREENHOE sought access to the audio

                            recordings made and kept as part of the official proceedings of the Kuflewski

                            Case from Defendant KIM B. MEAD.

                                  17.     None of the proceedings of the Kuflewski Case were closed to

                            the public.

                                  18.     None of the proceedings of the Kuflewski Case were held in

                            chambers.

                                  19.     None of the relevant records or proceedings of the Kuflewski

                            Case were placed under seal or under a case-specific protective order.


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                                  20.    The Bay County Probate Court is required to have audio

                            recordings of the Kuflewski Case retained and protected from disposal under

                            General Records Retention and Disposal Schedules.

                                  21.    Access to and copies of the audio-recordings of the proceedings

                            of the Kuflewski Case were denied to Plaintiffs PATRICK GREENHOE and

                            CLAUDETTE GREENHOE by Defendant KIM B. MEAD.

                                  22.    On April 21, 2017, counsel for Plaintiffs PATRICK GREENHOE
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                            and CLAUDETTE GREENHOE wrote to Defendant KIM B. MEAD making
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                            and reaffirming their formal demand to allow these Plaintiffs and their counsel

                            “to inspect and reasonably make (or obtain) crisp copies of the audio

                            recordings of the proceedings of the case captioned as In re Estate of John

                            Kuflewski, Bay County Probate Court Case No. 14-49781-DE by Friday, April

                            28, 2017.”

                                  23.    A copy of this demand is attached as Exhibit A.

                                  24.    On April 25, 2017, Defendant KIM B. MEAD denied access to the

                            audio records on the basis of Bay County Probate Court Administrative Order

                            2014-01J.

                                  25.    A copy of this response is attached as Exhibit B.




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                                 26.   Plaintiffs PATRICK GREENHOE and CLAUDETTE GREENHOE

                            were not a party or under the personal jurisdiction of the Bay County Probate

                            Court when this administrative order/regulation was issued.

                                 27.   A copy of Administrative Order 2014-01J is attached as Exhibit

                            C.

                                 28.   Plaintiffs PATRICK GREENHOE and CLAUDETTE GREENHOE

                            have no other means to appeal or otherwise by local action challenge the
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                            Administrative Order 2014-01J except by this legal action. 1
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                                 29.   As individuals seeking access to court records, Plaintiffs

                            PATRICK GREENHOE and CLAUDETTE GREENHOE have a special

                            interest warranting receipt of the records requested to confirm that the

                            transcripts produced for the Court of Appeals challenge had errors which

                            were outcome determinative.

                                                           Kolu Stevens
                                 30.   Plaintiff KOLU STEVENS was part of and parties to a family

                            division court case captioned as In re Stevens, Antrim County Circuit Court

                            – Family Division Case No. 16-7652-NA (hereinafter “Stevens Case”).



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                                   Plaintiffs attempted to seek relief in Bay County Circuit Court as the
                            state court of general jurisdiction and the assigned jurist, Judge Michael
                            Beal, concluded that Michigan circuit courts lack any jurisdiction to provide
                            relevant relief. See Exhibit I.

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                                  31.   The Stevens Case was assigned to state court judge Norman R.

                            Hayes.

                                  32.   After an adverse outcome, Plaintiff KOLU STEVENS challenged

                            Judge Hayes’ decision to the Michigan Court of Appeals.

                                  33.   The case was assigned as Michigan Court of Appeals Case No.

                            339681.

                                  34.   After the case was at the Court of Appeals, Plaintiff KOLU
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                            STEVENS reviewed the transcripts produced for the appeal and noticed
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                            numerous substantial errors and misstatements in the transcripts.

                                  35.   Plaintiff KOLU STEVENS sought access to the audio recordings

                            made and kept as part of the official proceedings of the Stevens Case from

                            Defendant WILLIAM HEFFERAN.

                                  36.   None of the proceedings of the Stevens Case were closed to the

                            public.

                                  37.   None of the proceedings of the Stevens Case were held in

                            chambers.

                                  38.   None of the relevant records or proceedings of the Stevens Case

                            were placed under seal or under a case-specific protective order.




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                                  39.   The Antrim County Circuit Court – Family Division is required to

                            have audio recordings of the Stevens Case retained and protected from

                            disposal under General Records Retention and Disposal Schedules.

                                  40.   On June 22, 2018, counsel for Plaintiff KOLU STEVENS wrote

                            to Defendant WILLIAM M. HEFFERAN making her formal demand to allow

                            Plaintiff KOLU STEVENS and her counsel “to inspect and reasonably make

                            (or obtain) crisp copies of the audio recordings of the proceedings of the case
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                            captioned as In re Stevens, Antrim County Circuit Court – Family Division
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                            Case No. 16-7652-NA by Friday, June 29, 2018.”

                                  41.   A copy of this demand is attached as Exhibit D.

                                  42.   On April 25, 2017, Defendant WILLIAM M. HEFFERAN denied

                            access to the audio records on the basis of Antrim County Circuit Court

                            Administrative Order 2015-1.

                                  43.   A copy of this response is attached as Exhibit E.

                                  44.   A copy of Antrim County Circuit Court Administrative Order 2015-

                            1 is attached as Exhibit F.

                                  45.   Plaintiff KOLU STEVENS was not a party or under the personal

                            jurisdiction of the Antrim County Circuit Court when this administrative

                            order/regulation was issued.




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                                  46.   Plaintiff KOLU STEVENS has no other means to appeal or

                            otherwise challenge the Administrative Order 2015-1 except by this legal

                            action.

                                  47.   As an individual seeking access to court records, Plaintiff KOLU

                            STEVENS have a special interest warranting receipt of the records

                            requested to confirm that the transcripts produced for the Court of Appeals

                            challenge had errors which were outcome determinative.
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                                                    Local Administrative Orders
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                                  48.   Defendant MICHIGAN STATE COURT ADMINISTRATIVE

                            OFFICE is the administrative agency of the Michigan state courts who aids

                            in the administration of the state trial courts of Michigan.

                                  49.   As part of its discretionary duties, Defendant MICHIGAN STATE

                            COURT       ADMINISTRATIVE         OFFICE      drafts   and    proposes   local

                            administrative orders governing internal local court management.

                                  50.   Michigan trial courts are mandated by Defendant MICHIGAN

                            STATE COURT ADMINISTRATIVE OFFICE to issue local administrative

                            orders (LAOs) to establish court policies for regulating certain functions and

                            procedures.




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                                  51.    One of those orders is known as “Access, Inspection,

                            Reproduction, and Creation of Records” or common known as Model LAO

                            8. See Exhibit H.

                                  52.    As a result, many (if not all) local administrative orders for

                            “access, inspection, reproduction, and creation of records” is controlled by

                            the standards set forth by Defendant MICHIGAN STATE COURT

                            ADMINISTRATIVE OFFICE.
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                                  53.    Antrim County Circuit Court Administrative Order 2015-1 and
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                            Bay County Probate Court Administrative Order 2014-01J are, in substantive

                            part, identical.

                                  54.    Under Michigan law, the audio “court recordings… and all other

                            records such as tapes, backup tapes, discs, and any other medium used or

                            created in the making of a record of proceedings [hereinafter “ACRs”] and

                            kept pursuant to MCR 8.108 are court records,” see MCR 8.119(F).

                                  55.    Under MCR 8.119(H), “[e]very court shall adopt an administrative

                            order pursuant to MCR 8.112(B) to... establish a policy for whether to provide

                            access for records defined in subrule (F) and if access is to be provided,

                            outline the procedure for accessing those records.”

                                  56.    As such, the chief judge of every court has certain discretion to

                            control how ACRs are maintained and are made publicly available; however,


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                            the exercise of that discretion must be done consistent with the constitutional

                            obligations mandated by the First Amendment.

                                  57.   In applying the requirements of MCR 8.119(H), Model LAO 8, as

                            drafted by Defendant MICHIGAN STATE COURT ADMINISTRATIVE

                            OFFICE, requires the local courts to adopt as follows:

                                        7. Access to court recordings, log notes, jury seating charts,
                                        and other media of court proceedings made pursuant to MCR
                                        8.108 [select one] [is permitted in accordance with this order]
                                        [is not permitted].
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                                        [If the court provides access to audio or video recordings, log
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                                        notes, tapes, discs, or any other medium used or created in the
                                        making of a record of proceedings and kept pursuant to MCR
                                        8.108, outline the procedure for requesting access, including
                                        the amount of time to retrieve and make the recording
                                        available, e.g., 24 hours, and any restrictions regarding to
                                        whom access to an audio or video recording is limited (e.g.
                                        parties in the case), viewing location, etc.]


                                        8. Copies of court recordings, log notes, jury seating charts,
                                        and other media of court proceedings made pursuant to MCR
                                        8.108 [select one] [are not available] [are available as provided
                                        by this order for $(insert per DVD cost) [select an amount no
                                        less than $2.00 and no more than $20.00] per DVD for
                                        recordings and other media in electronic format and $(insert per
                                        page cost) [select an amount no less than $.25 and no more
                                        than $2.00] per page for log notes and jury seating charts if
                                        available only in paper].

                                        [If the court provides copies of audio or video recordings, log
                                        notes, tapes, discs, or any other medium used or created in the
                                        making of a record of proceedings and kept pursuant to MCR
                                        8.108, outline the procedure for requesting copies, including the
                                        amount of time to retrieve and make a copy of the recording

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                                        (e.g., 24 hours), any restrictions regarding to whom a copy of
                                        an audio or video recording is limited (e.g. parties in the case),
                                        and restrictions on use of the copy (e.g. no duplication,
                                        publishing, or altering).]

                            Exhibit G, ¶¶7-8 (bolding added).

                                 58.    If a local court selects to make ACRs not available, it is violating

                            the First Amendment.

                                 59.    Both Antrim County Circuit Court Administrative Order 2015-1

                            and Bay County Probate Court Administrative Order 2014-01J selected the
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                            option     presented   by    Defendant      MICHIGAN        STATE      COURT
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                            ADMINISTRATIVE OFFICE to not make ACRs available for inspection or

                            copying.

                                 60.    As such, Plaintiffs’ First Amendment rights have been violated

                            directly or via general conspiracy as applied in Both Antrim County Circuit

                            Court Administrative Order 2015-1 and Bay County Probate Court

                            Administrative Order 2014-01J.

                                                           COUNT I
                                               VIOLATION OF FIRST AMENDMENT
                                                       42 U.S.C. § 1983

                                 61.    The previous paragraphs are realleged herein as if stated word

                            for word herein.

                                 62.    Plaintiffs KOLU STEVENS, PATRICK GREENHOE, and

                            CLAUDETTE GREENHOE have a First Amendment right of access that


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                            extends to certain court records in connection with judicial proceedings,

                            including the real-time audio recording of proceedings (i.e. the ACRs) in the

                            Kuflewski Case and the Stevens Case.

                                  63.    At the time these ACRs were made, the proceedings of the

                            Kuflewski Case and the Stevens Case were open and observable by the

                            press and general public.

                                  64.    Antrim County Circuit Court Administrative Order 2015-1, Bay
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                            County Probate Court Administrative Order 2014-01J, and/or Model LAO 8
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                            fails to have any specific, on the record findings, demonstrating that closure

                            is essential to preserve higher values and is narrowly tailored to serve that

                            interest under Press-Enterprise Co. v. Superior Court of Cal., Riverside Cty.,

                            464 U.S. 501, 510 (1984) (hereinafter “Press-Enterprise I”) and Press-

                            Enterprise Co. v. Superior Court of Cal., County of Riverside, 478 U.S. 1, 13-

                            14 (1986).

                                  65.    Access to the ACRs play a significant positive role in the

                            functioning of the Kuflewski Case and the Stevens Case and will instill

                            confidence in the judiciary by confirming or not whether official transcripts of

                            undertaken proceedings are full, complete, and accurate.




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                                 66.    By denying access and denying access or copies of the ACRs in

                            the Kuflewski Case and the Stevens Case, Defendants individually and/or in

                            conspiratorial agreement violated the First Amendment rights of Plaintiffs.

                                 67.    Defendants have violated the First Amendment both individually

                            and in conspiratorial agreement from the Lansing offices of Defendant

                            MICHIGAN STATE COURT ADMINISTRATIVE OFFICE.

                                 68.    To the extent that any Defendant relied or relies upon Antrim
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                            County Circuit Court Administrative Order 2015-1 and Bay County Probate
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                            Court Administrative Order 2014-01J, said Administrative Order is unlawful

                            under the First Amendment.

                                                       RELIEF REQUESTED

                                 69.    WHEREFORE,          Plaintiffs   KOLU   STEVENS,       PATRICK

                            GREENHOE, and CLAUDETTE GREENHOE respectfully requests this

                            Court to—

                                    a. Enter an order enjoining Defendants from refusing the ability of

                                        Plaintiffs   KOLU   STEVENS,      PATRICK    GREENHOE        and

                                        CLAUDETTE GREENHOE to inspect and reasonably make (or

                                        obtain) crisp copies of the audio recordings of the proceedings

                                        (i.e. the ACRs) held from the Kuflewski Case and the Stevens




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                                      Case to the extent not prohibited pursuant to the Eleventh

                                      Amendment to the United States Constitution;

                                    b. To the extent Antrim County Circuit Court Administrative Order

                                      2015-1, Bay County Probate Court Administrative Order 2014-

                                      01J, and/or Model LAO 8 precludes access or to reasonably

                                      make copies of ACRs held from the Kuflewski Case and the

                                      Stevens Case, enter a declaratory judgment finding Antrim
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                                      County Circuit Court Administrative Order 2015-1, Bay County
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                                      Probate Court Administrative Order 2014-01J, and/or Model LAO

                                      8 violates the First Amendment;

                                    c. Award all attorney fees, costs, and disbursements permitted by

                                      law including 42 U.S.C. § 1988; and

                                    d. Grant all other relief warranted and needed for this case.

                            Date: July 9, 2018                   RESPECTFULLY SUBMITTED:

                                                                 /s/ Philip L. Ellison
                                                                 OUTSIDE LEGAL COUNSEL PLC
                                                                 BY PHILIP L. ELLISON (P74117)
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